Case 20-12581-amc       Doc 14   Filed 06/30/20 Entered 06/30/20 11:49:40           Desc Main
                                 Document     Page 1 of 1




                                            Certificate Number: 05781-PAE-DE-034614061
                                            Bankruptcy Case Number: 20-12581


                                                           05781-PAE-DE-034614061




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on June 29, 2020, at 6:33 o'clock PM PDT, Merle Petrucci
completed a course on personal financial management given by internet by Sage
Personal Finance, a provider approved pursuant to 11 U.S.C. 111 to provide an
instructional course concerning personal financial management in the Eastern
District of Pennsylvania.




Date:   June 29, 2020                       By:      /s/Allison M Geving


                                            Name: Allison M Geving


                                            Title:   President
